
In re Zabaleta, Justino; — Defendant(s); applying for writ of certiorari and/or review; Parish of Calcasieu, 14th Judicial District Court, Div. “D”, No. 14098-93; to the Court of Appeal, Third Circuit, No. CR95-0655.
Granted. The portion of relator’s sentence which provides for a jail term in the event of default of payment of a fine is vacated. An indigent person may not be incarcerated because he is unable to pay a fine which is part of his sentence. Bearden v. Georgia, 461 U.S. 660, 103 S.Ct. 2064, 76 L.Ed.2d 221 (1983). However, we note that La.C.Cr.P. art. 886 permits the state to enforce collection of a fine in the same manner as a money judgment in a civil case. State v. Conley, 570 So.2d 1161 (La.1990).
KNOLL, J., not on panel; recused.
